 Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 1 of 32 PageID #: 107




                           UNITED STATES DISTRICT COURT
                           WESTERN DSTRICT OF KENTUCKY
                                   AT LOUISVILLE

                                  Case No. 3:16-CV-25-DJH

Marva Dockery, as Attorney-In-Fact                                                  PLAINTIFF
of Mildred Marshall

v.

GGNSC Louisville Hillcreek, LLC                                                  DEFENDANTS
d/b/a Golden LivingCenter – Hillcreek;
GGNSC Administrative Services, LLC;
GGNSC Clinical Services, LLC;
GGNSC Equity Holdings, LLC;
Golden Gate National Senior Care, LLC;
GGNSC Holdings, LLC;
James Rife, in his capacity as Administrator
Of Golden LivingCenter – Hillcreek;
Renay Adkins, in her capacity as Administrator of
Golden LivingCenter – Hillcreek;
Jen Hancock, in her capacity as Admissions
Coordinator of Golden LivingCenter – Hillcreek

                              FIRST AMENDED COMPLAINT

       COMES NOW the Plaintiff, Marva Dockery, as Attorney-In-Fact of Mildred Marshall,

and pursuant to Federal Rule of Civil Procedure 15(a)(1)(B), for her First Amended Complaint

states as follows:

       1.      Marva Dockery is the daughter of Mildred Marshall and her Attorney-in-Fact,

pursuant to the September 18, 2015 General Power of Attorney, attached hereto as Exhibit A. Ms.

Dockery brings this action on behalf of Ms. Marshall. Marva Dockery is a resident of Louisville,

Jefferson County, Kentucky, and a citizen of the Commonwealth of Kentucky.

       2.      Upon information and belief, Mildred Marshall was most recently admitted as a

resident of Golden LivingCenter – Hillcreek (sometimes referred to as “facility”), located at 3116

Breckinridge Lane, Louisville, Jefferson County, Kentucky approximately July 09, 2015, and

remained a resident there until approximately September 05, 2015.
 Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 2 of 32 PageID #: 108




       3.      Defendant GGNSC Louisville Hillcreek, LLC d/b/a Golden LivingCenter –

Hillcreek (sometimes referred to as “the facility”) is a foreign limited liability company authorized

to do business in the Commonwealth of Kentucky, with its principal office located at 3116

Breckenridge Lane, Louisville, Kentucky. Upon information and belief, at times material to this

action, Defendant GGNSC Louisville Hillcreek, LLC owned, operated, managed, controlled,

and/or provided services for Golden LivingCenter – Hillcreek in Louisville, Jefferson County,

Kentucky. Upon information and belief, Defendant GGNSC Louisville Hillcreek, LLC was, at

times material to this action, the “licensee” of the facility. Under the laws and regulations

promulgated and enforced by the Cabinet for Health and Family Services, as licensee of the

facility, GGNSC Louisville Hillcreek, LLC was legally responsible for that facility and for

ensuring compliance with all laws and regulations related to the operation of the facility. The

causes of action made the basis of this suit arise out of such business conducted by said GGNSC

Louisville Hillcreek, LLC in the ownership, operation, management, control, licensing and/or

services provided for the facility during the residency of Mildred Marshall. The registered agent

for service of process of GGNSC Louisville Hillcreek, LLC is Corporation Service Company, 421

West Main Street, Frankfort, Kentucky 40601.

       4.      Defendant GGNSC Administrative Services, LLC is a foreign limited liability

company and, upon information and belief, is engaged in the business of for-profit custodial care

of elderly and infirm nursing home residents in nursing facilities. Upon information and belief, at

times material to this action, Defendant GGNSC Administrative Services, LLC owned, operated,

managed, controlled and/or provided services for nursing facilities, including Golden

LivingCenter – Hillcreek in Louisville, Jefferson County, Kentucky. The causes of action made

the basis of this suit arise out of such business conducted by said Defendant GGNSC

Administrative Services, LLC in the ownership, operation, management, control and/or services
                                                 2
 Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 3 of 32 PageID #: 109




provided for the facility during the residency of Mildred Marshall. The registered agent for service

of process of GGNSC Administrative Services, LLC is Corporation Service Company, 421 West

Main Street, Frankfort, Kentucky 40601.

         5.    Defendant GGNSC Clinical Services, LLC is a foreign limited liability company

and, upon information and belief, is engaged in the business of for-profit custodial care of elderly

and infirm nursing home residents in nursing facilities. Upon information and belief, at times

material to this action, Defendant GGNSC Clinical Services, LLC owned, operated, managed,

controlled and/or provided services for nursing facilities, including Golden LivingCenter –

Hillcreek in Louisville, Jefferson County, Kentucky. The causes of action made the basis of this

suit arise out of such business conducted by said Defendant GGNSC Clinical Services, LLC in the

ownership, operation, management, control and/or services provided for the facility during the

residency of Mildred Marshall. The registered agent for service of process of GGNSC Clinical

Services, LLC is Corporation Service Company, 421 West Main Street, Frankfort, Kentucky

40601.

         6.    Defendant GGNSC Equity Holdings, LLC is a foreign limited liability company

and, upon information and belief, is engaged in the business of for-profit custodial care of elderly

and infirm nursing home residents in nursing facilities. Upon information and belief, at all times

material to this action, Defendant GGNSC Equity Holdings, LLC owned, operated, managed,

controlled and/or provided services for nursing facilities, including Golden Livingcenter –

Hillcreek in Louisville, Jefferson County, Kentucky. The causes of action made the basis of this

suit arise out of such business conducted by said Defendant GGNSC Equity Holdings, LLC in the

ownership, operation, management, control and/or services provided for the facility during the

residency of Mildred Marshall. The registered agent for service of process of GGNSC Equity



                                                 3
 Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 4 of 32 PageID #: 110




Holdings, LLC is Corporation Service Company, 2711 Centerville Rd., Suite 400, Wilmington,

Delaware 19808.

       7.      Defendant Golden Gate National Senior Care, LLC is a foreign limited liability

company and, upon information and belief, is engaged in the business of for-profit custodial care

of elderly and infirm nursing home residents in nursing facilities. Upon information and belief, at

all times material to this action, Defendant Golden Gate National Senior Care, LLC owned,

operated, managed, controlled and/or provided services for nursing facilities, including Golden

Livingcenter – Hillcreek in Louisville, Jefferson County, Kentucky. The causes of action made the

basis of this suit arise out of such business conducted by said Defendant Golden Gate National

Senior Care, LLC in the ownership, operation, management, control and/or services provided for

the facility during the residency of Mildred Marshall. The registered agent for service of process

of Golden Gate National Senior Care, LLC is Corporation Service Company, 421 West Main

Street, Frankfort, Kentucky 40601.

       8.      Defendant GGNSC Holdings, LLC is a foreign limited liability company and, upon

information and belief, is engaged in the business of for-profit custodial care of elderly and infirm

nursing home residents in nursing facilities. Upon information and belief, at times material to this

action, Defendant GGNSC Holdings, LLC owned, operated, managed, controlled and/or provided

services for nursing facilities, including Golden Livingcenter – Hillcreek in Louisville, Jefferson

County, Kentucky. The causes of action made the basis of this suit arise out of such business

conducted by said Defendant GGNSC Holdings, LLC in the ownership, operation, management,

control and/or services provided for the facility during the residency of Mildred Marshall. The

registered agent for service of process of GGNSC Holdings, LLC is Corporation Service

Company, 2711 Centerville Rd., Suite 400, Wilmington, Delaware 19808.



                                                 4
 Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 5 of 32 PageID #: 111




        9.     Upon information and belief, Defendant James Rife is a citizen and resident of the

Commonwealth of Kentucky and was an Administrator of Golden LivingCenter – Hillcreek during

the residency of Mildred Marshall. The causes of action made the basis of this suit arise out of

James Rife’s administration of Golden LivingCenter – Hillcreek during the residency of Ms.

Marshall. As the administrator, James Rife was responsible for ensuring that the facility operated

and provided services in compliance with all applicable federal and state laws and regulations and

with accepted professional standards and principles. 42 C.F.R. § 483.75. He was also responsible

for the day-to-day management of the facility. Id. In addition, Mr. Rife was also responsible for

enforcing policies and procedures for the operation of the facility, which were developed by the

other corporate entities named as Defendants herein, including but not limited to enforcement of

the policies and procedures and method related to presenting the arbitration agreement to potential

residents and obtaining signatures of potential residents on that arbitration agreement. Mr. Rife is

a necessary and indispensable party to these causes of action and is a Defendant whose conduct

forms a significant basis of the claims asserted by the Plaintiff. Defendant James Rife may be

served with process at his last known business address: 3116 Breckenridge Ln., Louisville,

Kentucky 40220.

       10.     Defendant Renay Adkins is a citizen and resident of the Commonwealth of

Kentucky and was an Administrator of Golden LivingCenter – Hillcreek during the residency of

Mildred Marshall. The causes of action made the bases of this suit arise out of Renay Adkins’

administration of Golden LivingCenter – Hillcreek during the residency of Ms. Marshall. As the

administrator, Renay Adkins was responsible for ensuring that the facility operated and provided

services in compliance with all applicable federal and state laws and regulations and with accepted

professional standards and principles. 42 C.F.R. § 483.75. She was also responsible for the day-

to-day management of the facility. Id. In addition, Ms. Adkins was also responsible for enforcing
                                                 5
 Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 6 of 32 PageID #: 112




policies and procedures for the operation of the facility, which were developed by the other

corporate entities named as Defendants herein, including but not limited to enforcement of the

policies and procedures and method related to presenting the arbitration agreement to potential

residents and obtaining signatures of potential residents on that arbitration agreement. Ms. Adkins

is a necessary and indispensable party to these causes of action and is a Defendant whose conduct

forms a significant basis for the claims asserted by the Plaintiff. Defendant Renay Adkins may be

served with process at her business address: 3116 Breckenridge Ln., Louisville, Kentucky 40220.

       11.     Defendant Jen Hancock is a citizen and resident of the Commonwealth of Kentucky

and was the Admissions Coordinator of Golden LivingCenter – Hillcreek during the residency of

Mildred Marshall. The causes of action made the basis of this suit arise out of Ms. Hancock’s

performance of the duties of the Admission Coordinator at Golden LivingCenter – Hillcreek during

the residency of Mildred Marshall, specifically executing the policies and procedures and method

related to presenting the arbitration agreement to potential residents and their responsible parties.

As the individual designated by the Defendants to be present at the Facility, to plan, organize,

develop, and direct the overall admissions process at the facility while following the admitting

guidelines, the Admissions Coordinator is a Defendant whose conduct forms a significant basis

for the claims asserted by the Plaintiff. Defendant Jen Hancock may be served with process at her

last known business address, 3116 Breckinridge Lane, Louisville, Kentucky 40220.

       12.     Whenever the term “Nursing Home Defendants” is used within this suit, such term

collectively refers to GGNSC Louisville Hillcreek, LLC d/b/a Golden LivingCenter – Hillcreek;

GGNSC Administrative Services, LLC; GGNSC Clinical Services, LLC; GGNSC Equity

Holdings, LLC; Golden Gate National Senior Care, LLC; and GGNSC Holdings, LLC.

       13.     Whenever the term “Administrator Defendants” is used within this suit, such term

refers to Renay Adkins, in her capacity as Administrator of Golden LivingCenter – Hillcreek, and
                                                 6
 Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 7 of 32 PageID #: 113




James Rife, in his capacity as Administrator of Golden LivingCenter – Hillcreek, respectively

during their periods as Administrator of Golden LivingCenter—Hillcreek.

       14.     Whenever the term “Admissions Coordinator Defendant” is used within this suit,

such term refers to Jen Hancock, in her capacity as Admissions Coordinator of Golden

LivingCenter – Hillcreek.

       15.     Whenever the term “Defendants” is utilized within this portion of the complaint,

such term collectively refers to and includes all named Defendants except the Admissions

Coordinator Defendant. See ¶ 66, infra.

       16.     The Defendants collectively controlled the operation, planning, management,

budget, and quality control of Golden LivingCenter – Hillcreek. The authority exercised by the

Defendants over the nursing facility included, but was not limited to, control of marketing, human

resources management, training, staffing, creation, and implementation of all policies and

procedures used by the nursing facility, federal and state reimbursement through Medicare and

Medicaid, quality care assessment and compliance, federal and state licensure and certification,

legal services, and financial, tax, and accounting control through fiscal policies established by the

Defendants.

       17.     This case was originally filed in the Circuit Court of Jefferson County, Kentucky.

The case was removed to the United States District Court for the Western District of Kentucky

pursuant to a Notice of Removal filed by the Nursing Home Defendants on January 12, 2016, in

which the Nursing Home Defendants incorrectly alleged federal, diversity-of-citizenship

jurisdiction. Jurisdiction and venue are not proper in the United States District Court for the

Western District of Kentucky, and this case must be remanded. Jurisdiction and venue are proper

in the Circuit Court of Jefferson County, Kentucky.



                                                 7
 Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 8 of 32 PageID #: 114




                                  FACTUAL ALLEGATIONS

        18.     Other than hospitalizations, Mildred Marshall was most recently a resident of

Golden LivingCenter – Hillcreek from approximately July 09, 2015 until approximately

September 05, 2015.

        19.     Mildred Marshall was looking to the Defendants for treatment of her total needs for

custodial, nursing, and medical care and not merely as the situs where others not associated with

the facility would treat her.

        20.     At all relevant times mentioned herein, Defendants owned, operated, managed

and/or controlled Golden LivingCenter – Hillcreek, either directly, through a joint enterprise,

partnership and/or through the agency of each other and/or other diverse subalterns, subsidiaries,

governing bodies, agents, servants, or employees.

        21.     Defendants are directly or vicariously liable for any acts and omissions by any

person or entity, controlled directly or indirectly, including any governing body, officer, employee,

ostensible or apparent agent, partner, consultant or independent contractor, whether in-house or

outside individuals, entities or agencies.

        22.     Defendants failed to discharge their obligations of care to Mildred Marshall with a

conscious disregard for her rights and safety. At all times mentioned herein, Defendants, through

their corporate officers and administrators, had knowledge of, ratified and/or otherwise authorized

all of the acts and omissions that caused the injuries suffered by Mildred Marshall, as more fully

set forth below. The Defendants knew that this facility could not provide the minimum standard

of care to the weak and vulnerable residents of Golden LivingCenter – Hillcreek.

        23.     The Defendants were on notice and aware of problems with resident care at Golden

LivingCenter – Hillcreek based upon surveys conducted at the facility by the Cabinet for Health

& Family Services both prior to and during the residency of Mildred Marshall. For example, in
                                                 8
 Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 9 of 32 PageID #: 115




multiple surveys prior to, during, and immediately following Ms. Marshall’s residency, the facility

was cited for numerous deficiencies relevant to the injuries of Mildred Marshall, including:

               a)      Failure to make sure the nursing home area is free from accident hazards
                       and risks and provides supervision to prevent avoidable accidents. (August
                       29, 2015);

               b)      Failure to have a program that investigates, controls and keeps infection
                       from spreading. (August 29, 2015);

               c)      Failure to make sure that a working call system is available in each resident's
                       room or bathroom and bathing area. (June 05, 2014 and again on November
                       10, 2014);

               d)      Failure to develop policies that prevent mistreatment, neglect, or abuse of
                       residents or theft of resident property. (April 01, 2014 and again on June 05,
                       2014);

               e)      Failure to make sure services provided by the nursing facility meet
                       professional standards of quality. (March 08, 2014 and again on August 29,
                       2015); and

               f)      Failure to provide care by qualified persons according to each resident’s
                       written plan of care. (March 08, 2014, June 05, 2014, November 10, 2014,
                       and again on August 29, 2015)

       24.     Due to the wrongful conduct of the Defendants, Mildred Marshall suffered

accelerated deterioration of her health and physical condition beyond that caused by the normal

aging process and the deterioration of her functional ability, as well as the following injuries:

               a)      Numerous falls with injuries;

               b)      Left hip fracture from fall;

               c)      Laceration to head from fall;

               d)      UTIs;

               e)      E-Coli;

               f)      Fecal Impaction; and

               g)      Significant weight loss.

                                                  9
Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 10 of 32 PageID #: 116




        25.     Mildred Marshall in addition suffered unnecessary loss of personal dignity, extreme

pain and suffering, hospitalizations, degradation, mental anguish, disability, and disfigurement, all

of which were caused by the wrongful conduct of the Defendants as alleged below.

         CAUSES OF ACTION AGAINST THE NURSING HOME DEFENDANTS

                                           NEGLIGENCE

        26.     Plaintiff re-alleges and incorporates the allegations contained in Paragraphs 1 - 25

as if fully set forth herein.

        27.     The Nursing Home Defendants owed a non-delegable duty to Mildred Marshall to

provide the custodial care, services and supervision that a reasonably careful nursing home would

provide under similar circumstances.

        28.     Upon information and belief, the Nursing Home Defendants knowingly developed

and maintained staffing levels at the facility in disregard of patient acuity levels as well as the

minimal time to perform the essential functions of providing care to Mildred Marshall.

        29.     The Nursing Home Defendants negligently failed to deliver care, services, and

supervision, including, but not limited to, the following acts and omissions:

                a. Failure by the members of the governing body of the facility to discharge their
                   legal and lawful obligation by:

                         1) ensuring compliance with rules and regulations designed to protect the
                            health and safety of the residents, such as Mildred Marshall, as
                            promulgated by the Cabinet for Health and Family Services, Division
                            of Long Term Care;

                         2) ensuring compliance with the resident care policies for the facility; and

                         3) ensuring that appropriate corrective measures were implemented to
                            correct problems concerning inadequate resident care.

                b. Failure to provide a facility that was sufficiently staffed with personnel that was
                   properly qualified and trained;



                                                  10
Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 11 of 32 PageID #: 117




           c. Failure to provide the minimum number of qualified personnel to meet the total
              needs of Mildred Marshall;

           d. Failure to maintain all records on Mildred Marshall in accordance with accepted
              professional standards and practices:

           e. Failure to ensure that Mildred Marshall received adequate and proper nutrition,
              fluids, supervision, therapeutic, and skin care;

           f. Failure to increase the number of personnel at the facility to ensure that Mildred
              Marshall received timely and appropriate custodial care, including, but not
              limited to, bathing, grooming, incontinent care, personal attention and care to
              her skin, feet, nails, and oral hygiene;

           g. Failure to have in place adequate guidelines, policies and procedures of the
              facility and to administer those policies through enforcement of any rules,
              regulations, by-laws or guidelines;

           h. Failure to monitor or increase the number of nursing personnel at the facility to
              ensure that Mildred Marshall:

                  1) received timely and accurate care assessments;

                  2) received prescribed treatment, medication and diet; and

                  3) received timely custodial, nursing and medical intervention due to a
                     significant change in condition.

           i. Failure to take reasonable steps to prevent, eliminate and correct deficiencies
              and problems in resident care at the facility;

           j. Failure to take all necessary and reasonable custodial and nursing measures to
              prevent avoidable falls and infections during Mildred Marshall’s residency;

           k. Failure to provide a safe environment for care, treatment, and recovery, and to
              exercise ordinary care and attention for the safety of Mildred Marshall in
              proportion to her particular physical and mental ailments, known or
              discoverable by the exercise of reasonable skill and diligence;

           l. Failure to provide adequate hygiene and sanitary care to prevent infection;

           m. Failure to provide proper custodial care; and

           n. Failure to abide by applicable federal laws and regulations governing the
              certification of long-term care facilities under Titles XVIII or XIX of the Social
              Security Act.

                                            11
Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 12 of 32 PageID #: 118




       30.     A reasonably careful nursing facility would not have failed to provide the care listed

above. It was foreseeable that these breaches of ordinary care would result in serious injuries to

Mildred Marshall. With regard to each of the foregoing acts of negligence, the Nursing Home

Defendants acted with oppression, fraud, malice or were grossly negligent by acting with wanton

or reckless disregard for the health and safety of Mildred Marshall.

       31.     In addition, Plaintiff also alleges the Nursing Home Defendants violated statutory

and regulatory duties of care, the violations of which are further evidence of their negligence and

which caused the injuries suffered by Mildred Marshall. The statutory and regulatory violations of

the Nursing Home Defendants included, but are not limited to, violation(s) of the following:

               a.     Violation(s) of KRS 209.005 et seq. and the regulations promulgated
                      thereunder, by abuse, neglect and/or exploitation of Mildred Marshall;

               b.     Violation(s) of KRS 508.090 et seq., criminal abuse, by committing
                      intentional, wanton, or reckless abuse of Mildred Marshall, who was
                      physically helpless or mentally helpless or permitting Ms. Marshall, a
                      person of whom the Nursing Home Defendants had actual custody, to be
                      abused. Such abuse caused serious physical injury, placed Ms. Marshall in
                      a situation that might cause her serious physical injury, and/or caused
                      torture, cruel confinement or cruel punishment of Mildred Marshall;

               c.     Violation(s) of KRS 530.080 et seq., endangering the welfare of an
                      incompetent person, by knowingly acting in a manner which resulted in an
                      injury to the physical and/or mental welfare of Mildred Marshall, who
                      was unable to care for herself because of her illness;

               d.     Violation(s) of KRS 216.520, requiring long term care facilities to provide
                      appropriate staff training to implement each of the residents’ rights as
                      defined in KRS 216.515 to 216.525;

               e.     Violation(s) of KRS 506.080, criminal facilitation of criminal act(s), by
                      acting with knowledge that another person or entity was committing one
                      or more of the foregoing criminal acts or intending to commit one or more
                      of the foregoing criminal acts, and engaged in conduct which knowingly
                      provided another person or entity the means or opportunity for the
                      commission of such criminal act(s) and which in fact aided another person
                      or entity to commit the criminal act(s); and/or



                                                12
Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 13 of 32 PageID #: 119




                f.       Violation(s) of the statutory standards and requirements governing
                         licensing and operation of long-term care facilities as set forth by the
                         Cabinet for Health and Family Services, pursuant to provisions of KRS
                         Chapter 216 and the regulations promulgated thereunder.

        32.     As a direct and proximate result of such grossly negligent, wanton or reckless

conduct, Mildred Marshall suffered the injuries described in Paragraph 24. Plaintiff asserts a claim

for judgment for all compensatory and punitive damages against the Nursing Home Defendants

including, but not limited to, medical expenses, pain and suffering, mental anguish, disability,

disfigurement, hospitalization, and unnecessary loss of personal dignity in an amount to be

determined by the jury, but in excess of the minimum jurisdictional limits of this Court and

exceeding that required for federal court jurisdiction in diversity of citizenship cases, plus costs

and all other relief to which Plaintiff is entitled by law.

                                    MEDICAL NEGLIGENCE

        33.     Plaintiff re-alleges and incorporates the allegations contained in Paragraphs 1 – 32

as if fully set forth herein.

        34.     Nursing Home Defendants had a duty to provide the standard of professional

medical care and services of a reasonably competent nursing facility acting under the same and

similar circumstances.

        35.     Nursing Home Defendants failed to meet applicable standards of medical care. The

medical negligence or malpractice of Nursing Home Defendants included, but was not limited to,

the following acts and omissions:

                a.       The overall failure to ensure that Mildred Marshall received the following:

                         1)     timely and accurate care assessments;

                         2)     prescribed treatment, medication, and diet;

                         3)     necessary supervision; and

                                                   13
Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 14 of 32 PageID #: 120




                       4)     timely nursing and medical intervention due to a significant change
                              in condition;

               b.      Failure to provide and implement an adequate nursing care plan based on
                       the needs of Mildred Marshall;

               c.      Failure to provide proper treatment and assessment to Mildred Marshall
                       in order to prevent and care for infections;

               d.      Failure to provide care, treatment and medication in accordance with
                       physician’s orders;

               e.      Failure to take all necessary and reasonable custodial and nursing measures
                       to prevent avoidable falls and infections during Mildred Marshall’s
                       residency;

               f.      Failure to adequately and appropriately monitor Mildred Marshall
                       and recognize significant changes in her health status, and to timely notify
                       her physician of significant changes in her health status;

               g.      Nursing Home Defendants were responsible for the infliction of physical
                       pain, injury, and mental anguish upon Mildred Marshall;

               h.      Failure to ensure Mildred Marshall was not deprived of the services
                       necessary to maintain her health and welfare; and

               i.      Failure to notify the physician of a significant change in her condition.

       36.     It was foreseeable that the breaches of care listed above would result in serious

injuries to Mildred Marshall. A reasonably competent nursing facility acting under the same or

similar circumstances would not have failed to provide the care listed above.

       37.     With regard to each of the foregoing acts of professional or medical negligence,

Nursing Home Defendants acted with oppression, fraud, malice, or were grossly negligent by

acting with wanton or reckless disregard for the health and safety of Mildred Marshall.

       38.     As a direct and proximate result of such oppression, fraud, malice, or gross

negligence, Mildred Marshall suffered the injuries described herein. Plaintiff asserts a claim for

judgment for all compensatory and punitive damages against Nursing Home Defendants including,

but not limited to, medical expenses, pain and suffering, mental anguish, disability, disfigurement,
                                                14
Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 15 of 32 PageID #: 121




hospitalization, and unnecessary loss of personal dignity in an amount to be determined by the

jury, but in excess of the minimum jurisdictional limits of this Court and exceeding that required

for federal court jurisdiction in diversity of citizenship cases, plus costs and all other relief to which

Plaintiff is entitled by law.

                                  CORPORATE NEGLIGENCE

        39.      Plaintiff re-alleges and incorporates the allegations contained in Paragraphs 1 – 38

as if fully set forth herein.

        40.      Mildred Marshall was looking to the Nursing Home Defendants’ facility for

treatment of her physical ailments and not merely as the situs where others not associated with the

facility would treat her for her problems. There is a presumption that the treatment Ms. Marshall

received was being rendered through employees of Nursing Home Defendants and that any

negligence associated with that treatment would render Nursing Home Defendants responsible.

Nursing Home Defendants, or persons or entities under their control, or to the extent Nursing

Home Defendants were vicariously liable through the ostensible or apparent agency of others,

owed a non-delegable duty to residents, including Mildred Marshall, to use the degree of skill and

care which is expected of reasonably competent medical practitioners acting in the same or similar

circumstances.

        41.      Nursing Home Defendants owed a non-delegable duty to assist Mildred Marshall

in attaining and maintaining the highest level of physical, mental and psychological well-being.

        42.      Nursing Home Defendants owed a duty to Mildred Marshall to maintain their

facility in such a manner as to enable them to meet the needs of Ms. Marshall, including providing

and maintaining medical equipment and supplies, and hiring, supervising and retaining nurses and

other staff employees.



                                                   15
Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 16 of 32 PageID #: 122




       43.     Nursing Home Defendants owed a duty to Mildred Marshall to have in place

procedures and protocols that properly care for residents and to administer these policies through

enforcement of any rules, regulations, by-laws, or guidelines, which were adopted by Nursing

Home Defendants to ensure smoothly-run facilities and adequate resident care.

       44.     Nursing Home Defendants owed a duty to Mildred Marshall to provide a safe

environment, treatment, and recovery, and to exercise ordinary care and attention for the safety of

residents in proportion to the physical and mental ailments of each particular resident, known or

discoverable by the exercise of reasonable skill and diligence. The duty of reasonable care and

attention extended to safeguarding Ms. Marshall from danger due to her inability to care for

herself. Nursing Home Defendants had a duty to protect Ms. Marshall from any danger which the

surroundings would indicate might befall her in view of any peculiar trait exhibited by her or which

her mental condition or aberration would suggest as likely to happen.

       45.     Nursing Home Defendants breached their duty to Mildred Marshall by the manner

in which they owned, operated, and exercised control over Golden LivingCenter – Hillcreek.

       46.     With regard to the foregoing acts of negligence detailed herein, Nursing Home

Defendants acted with oppression, fraud, malice, or were grossly negligent by acting with wanton

or reckless disregard for the health and safety of Mildred Marshall.

       47.     As a direct and proximate result of such oppression, fraud, malice, or gross

negligence, Mildred Marshall suffered the injuries described herein. Plaintiff asserts a claim for

judgment for all compensatory and punitive damages against Nursing Home Defendants including,

but not limited to, medical expenses, pain and suffering, mental anguish, disability, disfigurement,

hospitalization, and unnecessary loss of personal dignity in an amount to be determined by the

jury, but in excess of the minimum jurisdictional limits of this Court and exceeding that required



                                                16
Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 17 of 32 PageID #: 123




for federal court jurisdiction in diversity of citizenship cases, plus costs and all other relief to which

Plaintiff is entitled by law.

               VIOLATIONS OF LONG TERM CARE RESIDENT’S RIGHTS

        48.     Plaintiff re-alleges and incorporates the allegations contained in Paragraphs 1 – 47

as if fully set forth herein.

        49.     Nursing Home Defendants violated statutory duties owed to Mildred Marshall as a

resident of a long term care facility, Kentucky Revised Statutes 216.510, et seq. These statutory

duties were non-delegable.

        50.     The violations of the resident’s rights of Mildred Marshall include, but are not

limited to:

                a.       Violation of the right to be treated with consideration, respect, and full
                         recognition of her dignity and individuality;

                b.       Violation of the right to have a responsible party or family member or her
                         guardian notified immediately of any accident, sudden illness, disease,
                         unexplained absence, or anything unusual involving the resident;

                c.       Violation of the right of the resident, her responsible party, responsible
                         family member, or her guardian to be fully informed of the resident’s
                         medical condition;

                d.       Violation of the right to be free from mental and physical abuse; and

                e.       Violation of the right to be given assistance when needed in maintaining
                         body hygiene and good grooming.

        51.     As a result of the aforementioned violations of the Resident’s Rights Statute by

Nursing Home Defendants, pursuant to K.R.S. § 216.515(26), Plaintiff is entitled to recover actual

damages in an amount to be determined by the jury, but in excess of the minimum jurisdictional

limits of this Court and exceeding that required for federal court jurisdiction in diversity of

citizenship cases, as well as costs and attorneys’ fees.



                                                   17
Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 18 of 32 PageID #: 124




        52.     With regard to the aforementioned violations of the Resident’s Rights Act, Nursing

Home Defendants acted with oppression, fraud, malice, or were grossly negligent by acting with

wanton and reckless disregard for the rights of Mildred Marshall and, pursuant to K.R.S. §

216.515(26), Plaintiff is entitled to punitive damages from Nursing Home Defendants in an amount

to be determined by the jury, but in excess of the minimum jurisdictional limits of this Court and

exceeding that required for federal court jurisdiction in diversity of citizenship cases, as well as

costs and attorneys’ fees.

        CAUSES OF ACTION AGAINST THE ADMINISTRATOR DEFENDANTS

                                         NEGLIGENCE

        53.     Plaintiff re-alleges and incorporates the allegations contained in Paragraphs 1 – 52

as if fully set forth herein.

        54.     Upon information and belief, Renay Adkins and James Rife were Administrators

of Golden LivingCenter – Hillcreek during Mildred Marshall’s residency there.

        55.     As a nursing home administrator licensed by the State of Kentucky, Renay Adkins

and James Rife owed ordinary duties of care to Mildred Marshall, as well as professional duties

and statutory duties owed to residents by licensed nursing home administrators in this state,

pursuant to the Nursing Home Administrators Licensure Act of 1970, codified as Kentucky

Revised Statutes sections 216A.010, et seq.

        56.     As a holder of a nursing home administrator’s license, Renay Adkins and James

Rife were legally and individually responsible for the operation of the facility and the welfare of

its residents pursuant to Chapter 216A of the Kentucky Revised Statutes and Title 201, Chapter 6

of the Kentucky Administrative Regulations.

        57.     As administrator, Defendants Renay Adkins and James Rife were also responsible

for the total management of the facility pursuant to federal law.
                                                 18
Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 19 of 32 PageID #: 125




       58.     Administrator Defendants’ management responsibilities included ensuring that the

facility operated and provided services in compliance with all applicable federal, state, and local

laws, regulations, and codes, and within accepted professional standards and principles.

       59.     Defendant Renay Adkins and James Rife breached the duties of ordinary care owed

to Mildred Marshall as administrator and failed to operate, manage, or administer the facility in

compliance with accepted professional standards and principles through acts and omissions

including, but not limited to, the following:

               a.      The failure to provide sufficient numbers of qualified personnel to meet
                       the total needs of Mildred Marshall throughout her residency and to
                       ensure that Mildred Marshall:

                          i.   Received timely and accurate care assessments;

                         ii.   Received prescribed treatment, medication, and diet; and

                        iii.   Was protected from accidental injuries by the correct use of
                               ordered and reasonable safety measures;

               b.      The failure to adequately screen, evaluate, and test for competence in
                       selecting personnel to work at the facility;

               c.      The failure to ensure that Mildred Marshall was provided with basic and
                       necessary care and supervision;

               d.      The failure to ensure that Mildred Marshall attained and maintained her
                       highest level of physical, mental, and psychosocial well-being;

               e.      The failure to ensure that Mildred Marshall received care, treatment,
                       and medication as prescribed or in accordance with physician’s orders;

               f.      The failure to ensure that Mildred Marshall was treated with the
                       dignity and respect that all nursing home residents are entitled to receive;

               g.      Failure to take all necessary and reasonable custodial and nursing
                       measures to prevent avoidable falls and infections during Mildred
                       Marshall’s residency;

               h.      The failure to provide a safe environment for Mildred Marshall;



                                                19
Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 20 of 32 PageID #: 126




               i.      The failure to take reasonable steps to prevent, eliminate, and correct
                       deficiencies and problems in resident care at the facility;

               j.      The failure to discipline or terminate employees at the facility assigned to
                       Mildred Marshall that were known to be careless, incompetent, and
                       unwilling to comply with the policy and procedures of the facility and the
                       rules and regulations promulgated by the Cabinet for Health and Family
                       Services;

               k.      The failure to adopt adequate guidelines, policies, and procedures for:

                       1) Investigating the relevant facts, underlying deficiencies, or licensure
                          violations, or penalties found to exist at the facility by the Cabinet for
                          Health and Family Services or any other authority;

                       2) Determining the cause of any such deficiencies, violations, or penalties;

                       3) Establishing the method and means for correcting deficiencies,
                          licensure violations, or penalties found to exist at the facility;

                       4) Determining whether the facility had sufficient numbers of personnel to
                          meet the total needs of Mildred Marshall; and

                       5) Documenting, maintaining files, investigating, and responding to any
                          complaint regarding the quality of resident care, or misconduct by
                          employees at the facility, regardless of whether such complaint derived
                          from a resident of said facility, an employee of the facility, or any
                          interested person;

               l.      The failure to provide nursing personnel sufficient in number to provide
                       proper treatment and assessment to Mildred Marshall and other residents;

               m.      The failure to provide adequate supervision to the nursing staff so as to
                       ensure that Mildred Marshall received adequate and proper nutrition, fluids,
                       therapeutic diet, sanitary care treatments, and skin care to prevent infection,
                       and sufficient nursing, observation, and examination of the responses,
                       symptoms, and progress in the physical condition of Mildred Marshall; and

               n.      The failure to maintain all records on Mildred Marshall in accordance with
                       accepted professional standards and practice that were complete,
                       accurately documented, readily accessible, and systematically organized
                       with respect to her diagnoses, treatment, and appropriate care plans for
                       care and treatment.

       60.     A reasonably careful nursing home administrator would not have failed to provide

the care listed above. It was foreseeable that these breaches of ordinary care would result in serious
                                                 20
Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 21 of 32 PageID #: 127




injuries to Mildred Marshall. Each of the foregoing acts of negligence on the part of the

Administrator Defendants was accompanied by such wanton or reckless disregard for the health

and safety of Mildred Marshall as to constitute gross negligence.

       61.        Additionally, the Administrator Defendants’ failure to operate, manage, or

administer the facility in compliance with federal, state, and local laws, regulations, and codes

intended to protect nursing home residents, included, but was not limited to:

             a.          The failure to ensure compliance with rules and regulations of the Cabinet
                         for Health and Family Services, pursuant to Chapters 216, 216B and 13A
                         of the Kentucky Revised Statutes and the administrative regulations
                         promulgated thereunder, and the federal minimum standards imposed by
                         the United States Department of Health and Human Services;

             b.          The failure to ensure compliance with laws and regulations promulgated
                         by the Cabinet for Health and Family Services to provide the minimum
                         number of staff necessary to assist Mildred Marshall with her needs;

             c.          The failure to ensure compliance with law and regulations of the Board of
                         Licensure for Nursing Home Administrators pursuant to the Nursing
                         Home Administrator Licensure Act of 1970, Kentucky Revised Statutes
                         sections 216A.010 et seq.;

             d.          The failure to provide the necessary care and services to attain or maintain
                         the highest practicable physical, mental, and psychosocial well-being of
                         Mildred Marshall, and in accordance with the comprehensive assessment
                         and plan of care created at the facility;

             e.          The failure to provide sufficient nursing staff and nursing personnel to
                         provide adequate and appropriate nursing care to Mildred Marshall in
                         accordance with the resident care plan generated at the facility;

       62.        In addition, the Administrator Defendants also failed to administer the facility in a

manner that enabled it to use its resources effectively and efficiently to attain or maintain the

highest practicable physical, mental, and psychosocial well-being of Mildred Marshall, including

but not limited to:

                  a.     The failure to ensure that a nursing care plan based on Mildred Marshall’s
                         problems and needs was established which contained measurable objectives
                         and time tables to meet her medical, nursing, mental, and psychosocial
                                                   21
Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 22 of 32 PageID #: 128




                        needs as identified in her comprehensive assessment, which   was
                        supposed to be reviewed and revised when Mildred Marshall’s needs
                        changed;

                b.      The failure to notify Mildred Marshall’s family and physician of a need to
                        alter her treatment significantly;

                c.      The failure to provide a safe environment;

                d.      The failure to ensure that Mildred Marshall maintained acceptable
                        parameters of nutritional status and received a therapeutic diet throughout
                        her residency; and

                e.      Failure to take all necessary and reasonable custodial and nursing
                        measures to prevent avoidable falls and infections during Mildred
                        Marshall’s residency.

        63.     Mildred Marshall is a member of a class intended to be protected by the above laws

and regulations. The injuries alleged in Paragraph 24 resulted from events that the laws and

regulations were designed to prevent.

        64.     It was foreseeable that the foregoing breaches of duties would result in serious

injuries to Mildred Marshall. Each of the foregoing acts of negligence on the part of the

Administrator Defendants was accompanied by such wanton or reckless disregard for the health

and safety of Mildred Marshall as to constitute gross negligence.

        65.     As a direct and proximate cause of such grossly negligent, wanton, or reckless

conduct, Mildred Marshall suffered the injuries described herein, and Plaintiff asserts a claim for

judgment for all compensatory and punitive damages against the Administrator Defendants, in

their capacity as Administrator of the facility, including but not limited to, medical expenses, pain

and suffering, mental anguish, disability, disfigurement, hospitalization, and unnecessary loss of

personal dignity in an amount to be determined by the jury, but in excess of the minimum

jurisdictional limits of this Court and exceeding that required for federal court jurisdiction in

diversity of citizenship cases, plus costs and all other relief to which Plaintiff is entitled by law.

                                                  22
Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 23 of 32 PageID #: 129




        CAUSES OF ACTION AGAINST THE NURSING HOME DEFENDANTS,
       ADMINISTRATOR DEFENDANTS, AND ADMISSIONS COORDINATOR:

        66.     Whenever the term “Defendants” is utilized within this portion of the complaint,

such term collectively refers to and includes all named Defendants.

                                  FACTUAL ALLEGATIONS:

        67.     Plaintiff re-alleges and incorporates the allegations contained in Paragraphs 1 – 66

as if fully set forth herein.

        68.     On approximately July 9, 2015, Mildred Marshall arrived at Golden LivingCenter

– Hillcreek having just been discharged from the hospital. Ms. Marshall’s daughter, Marva

Dockery, was present with Ms. Marshall during her admission to the facility. See Affidavit of

Marva Dockery (attached as Exhibit B). Ms. Marshall and her family were looking to the facility

for treatment of her total needs, including nursing, medical, and custodial care, as she and her

family were incapable of meeting those needs themselves.

        69.     Upon their arrival, Ms. Marshall was escorted directly to her room where she

remained with Ms. Dockery. Ms. Marshall was not presented with any documents related to her

residency at the facility during this time. Ms. Marshall did not receive admissions paperwork of

any kind. Likewise, Ms. Marshall was not presented with an arbitration agreement of any kind.

Marva Dockery remained in Mildred Marshall’s room for several hours, and at no time did any

facility employee present Mildred Marshall with admission or arbitration agreements regarding

Ms. Marshall’s residency.

        70.     The Nursing Home Defendants have now produced a document entitled

“Alternative Dispute Resolution Agreement,” which they allege that Mildred Marshall executed

(attached hereto as Exhibit C). The Nursing Home Defendants assert that this agreement requires

Plaintiff’s claims to be resolved in arbitration, and the Nursing Home Defendants have filed a

                                                 23
Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 24 of 32 PageID #: 130




separate lawsuit in the U.S. District Court for the Western District of Kentucky demanding that

Plaintiff arbitrate her claims. See GGNSC Louisville Hillcreek, LLC v. Dockery, No. 3:15-CV-908-

DJH.

       71.     Mildred Marshall did not execute the Alternative Dispute Resolution Agreement

(hereinafter “Arbitration Agreement”), which the Nursing Home Defendants are attempting to

enforce. See Letter of Opinion from Joe Lucas, Forensic Document Examiner (attached as Exhibit

D); See also Exhibit B at ¶¶ 6-10. Furthermore, the document is executed with the initials “M.W.”

which are not the initials of Mildred Marshall.

       72.     Upon information and belief, the Defendants forged a signature on the Arbitration

Agreement without Mildred Marshall’s permission, rather than presenting the agreement to Ms.

Marshall and giving her an opportunity to execute it herself. Alternatively, the Defendants forged

a signature on the Arbitration Agreement after Ms. Marshall declined to sign such agreement. By

forging a signature on this agreement, the Defendants deprived Ms. Marshall of the opportunity to

review the agreement and understand the implications that an arbitration agreement would have

on her constitutional right to trial by jury should any claims arise during her residency

Alternatively, the Defendants forged a signature on this agreement after Ms. Marshall expressly

declined to be bound by such agreement.

       73.     Upon information and belief, the Nursing Home Defendants combine to jointly and

collectively operate a number of skilled nursing facilities throughout the United States, including

Golden LivingCenter - Hillcreek.

       74.     Upon information and belief, the Nursing Home Defendants promulgate policies

and procedures related to operations at their individual facilities, including Golden LivingCenter

– Hillcreek. The topics of these policies and procedures range from the admissions process and

paperwork to the manner of nursing care administered in the facility. One such policy and
                                                  24
Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 25 of 32 PageID #: 131




procedure relates to obtaining signatures on the Arbitration Agreements from the residents of

Golden LivingCenter – Hillcreek, and the other facilities which the Nursing Home Defendants

control and/or operate.

       75.     Upon information and belief, the Nursing Home Defendants enforce compliance

with these policies and procedures through the Administrators at each facility. In the case of

Golden LivingCenter – Hillcreek, James Rife and/or Renay Adkins were responsible for enforcing

compliance with these policies and procedures.

       76.     Upon information and belief, the Admissions Coordinator Defendant was

instructed and trained by the Nursing Home Defendants and/or the Administrator Defendants

about how to present, explain, and procure signatures of residents or their responsible parties on

the Arbitration Agreement. Upon information and belief, the Admissions Coordinator Defendant

was instructed to take any measures necessary, including forging resident signatures, to ensure that

the residents of Golden LivingCenter – Hillcreek were forced to submit their claims to arbitration,

rather than having them heard by a jury. Alternatively, the Admissions Coordinator Defendant was

pressured and/or incentivized by the Nursing Home Defendants and/or the Administrator

Defendants to obtain signed arbitration agreements.

       77.     Upon information and belief, the Administrator Defendants or Admissions

Coordinator Defendant or someone acting at their behest and under their control forged the

signature appearing on the Arbitration Agreement at issue herein.

       78.     Upon information and belief, no Arbitration Agreement was ever presented or

otherwise explained to Ms. Marshall. Ms. Marshall was never informed about the ramifications of

signing an arbitration agreement, and was not told that it would in any way affect her entitlement

to pursue claims against the Defendants in a court of law, and she was not told that signing an

arbitration agreement was an optional act. The Defendants forged, and/or conspired to forge Ms.
                                                 25
Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 26 of 32 PageID #: 132




Marshall’s signature on the Arbitration Agreement instead of giving her a meaningful opportunity

to evaluate the appropriateness of such an agreement, and execute it with full knowledge of its

implications. Alternatively, the Defendants forged and/or conspired to forge Ms. Marshall’s

signature on the Arbitration Agreement after Ms. Marshall expressly declined to agree to the terms

of the Arbitration Agreement.

                                             FORGERY

        79.     Plaintiff re-alleges and incorporates the allegations contained in paragraphs 1-78 as

if fully set forth herein.

        80.     Pursuant to KRS § 446.070, any person injured by “the violation of any statute may

recover from the offender such damages as he sustained by reason of the violation.”

        81.     The offense of forgery, codified at KRS § 516.030, mandates that “a person is guilty

of forgery in the second degree when, with intent to defraud, deceive or injure another, he falsely

makes, completes or alters a written instrument” including a contract, which affects a legal right.

        82.     As stated above, Mildred Marshall did not execute the Arbitration Agreement,

which the Nursing Home Defendants have instituted separate legal proceedings to enforce. Instead,

the Defendants executed and/or conspired to execute this agreement on Ms. Marshall’s behalf

without informing her or otherwise obtaining her consent to do so.

        83.     By executing the Arbitration Agreement on Mildred Marshall’s behalf, and without

her permission or knowledge, the Defendants falsely created a contract. By falsely completing and

or altering the arbitration agreement in order to prevent Ms. Marshall from bringing suit in a court

of law, the Defendants acted with the intent to defraud, deceive, or injure Mildred Marshall and to

deprive her of her constitutionally protected right to trial by jury.

        84.     The Arbitration Agreement is purportedly a contract between the Nursing Home

Defendants and Mildred Marshall, and which deprives Mildred Marshall of her legal right to have
                                                  26
Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 27 of 32 PageID #: 133




her grievances against the Defendants heard by a jury. The Agreement plainly states that it

“GOVERNS IMPORTANT LEGAL RIGHTS,” and therefore this agreement falls within the

purview of KRS § 516.030 and KRS § 516.010.

        85.     As a direct result of the Defendants’ act of forgery, Ms. Marshall has suffered injury

in the expenditure of time, money, and resources in defending the parallel lawsuit and asserting

her constitutional right to a trial by jury.

                                               CONSPIRACY

        86.     Plaintiff re-alleges and incorporates the allegations contained in paragraphs 1-85 as

if fully set forth herein.

        87.     The Defendants conspired with one another in furtherance of the corrupt purpose

of deceiving, misleading, and defrauding the residents of Golden LivingCenter – Hillcreek,

including Mildred Marshall, and unlawfully forging agreements and creating the false impression

that the residents properly agreed to arbitrate any potential claims they may have against the

Defendants. These acts of fraud and deception were calculated to deprive the residents of Golden

LivingCenter – Hillcreek, including Mildred Marshall, of their constitutional right to trial by jury.

These acts also caused the affected residents, including Mildred Marshall, to expend time, money,

and other resources in defending themselves against the Defendants’ unlawful acts, and in

asserting their right to a trial by jury.

        88.     This conspiracy was carried out by the Defendants for the purpose of defrauding

residents of Golden LivingCenter – Hillcreek into arbitrating all potential claims in an effort to

reduce potential monetary liability of the Nursing Home Defendants for injuries sustained by

residents while under their care. The Defendants made the collective decision to implement and

execute a policy whereby facility employees are required, pressured, and/or incentivized to obtain

signatures on arbitration agreements, up to and including fraudulently executing arbitration
                                                   27
Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 28 of 32 PageID #: 134




agreements, rather than presenting and fully explaining them to the facility’s residents and lawfully

obtaining their consent to arbitration. The Administrator Defendants and Admission Coordinator

Defendant agreed to such a policy and worked in concerted action together and with the Nursing

Home Defendants to implement and execute this policy. Alternatively, the Defendants made the

collective decision to implement a policy whereby facility employees fraudulently execute

arbitration agreements even after residents expressly decline to be bound by the terms of such

agreement.

       89.       Upon information and belief, the Nursing Home Defendants and the Administrator

Defendants controlled the facility’s policies, procedures, and training for securing executed

arbitration agreements from their residents. The Admissions Coordinator Defendant and the

Administrator Defendants were charged with ensuring that these policies and procedures were

carried out so that an increased number of residents executed an arbitration agreement during their

residency, regardless of whether or not they actually assented to the terms of these agreements.

Upon information and belief, the goal of this practice was to ensure that all resident claims against

the facility were relegated to arbitration, whether the resident actually agreed to arbitrate or not.

       90.       As stated in paragraphs 79-85, the Defendants have carried out their policy of

falsely making, completing, or altering contracts with the intent to defraud their residents,

including Mildred Marshall. This is an unlawful act which constitutes forgery in the second degree.

       91.       By virtue of the Defendants’ complicity and agreement in the conspiracy to defraud

residents by fraudulently forging arbitration agreements on their behalf, and as a direct result of

this unlawful and corrupt conduct, Mildred Marshall has suffered injury in the expenditure of time,

money, and resources in defending the parallel lawsuit and asserting her constitutional right to a

trial by jury in that lawsuit, as well as the present one, which has been improperly removed to

federal court.
                                                  28
Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 29 of 32 PageID #: 135




        92.     Because the Defendants were engaged in a conspiracy, each are jointly and

severally liable for the damages incurred by Ms. Marshall.

                                      ABUSE OF PROCESS

        93.     Plaintiff re-alleges and incorporates the allegations contained in paragraphs 1-92 as

if fully set forth herein.

        94.     The Defendants have misused the legal process by filing and serving a Complaint

and Summons upon the Plaintiff in the parallel lawsuit even with the knowledge that the

Arbitration Agreement which they seek to enforce is a forged document and was executed by the

Defendants and/or their agents, rather than Mildred Marshall, as the Nursing Home Defendants

allege in their Complaint. See Defendants’ Complaint in the Western District of Kentucky

(attached as Exhibit E).

        95.     The Defendants have acted with malice and conscious disregard for the rights of

Mildred Marshall, and have utilized the legal process solely in furtherance of ulterior motives,

which include to unlawfully deprive Ms. Marshall of her constitutional right to a trial by jury, and

to limit potential liability for personal injury claims by ensuring that those claims are arbitrated

rather than heard by a jury, even in the absence of a valid arbitration agreement.

        96.     The Defendants are well aware that such a use of legal process is improper and

should not be utilized in the regular course of a proceeding to enforce an invalid arbitration

agreement, such as the one at hand. Defendants have willfully used this process improperly, and

outside the bounds of regular conduct in a legal proceeding in order to obtain a collateral advantage

in the form of the forfeiture of Ms. Marshall’s constitutional rights in the state court proceeding

(the case that has now been removed to this Court) and the limitation of liability by securing the

wrongful arbitration of Ms. Marshall’s claims rather than resolution by a jury of Kentucky citizens.



                                                 29
Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 30 of 32 PageID #: 136




          97.    As a proximate result of Defendants’ misuse of the legal process, Mildred Marshall

suffered injury in the expenditure of time, money, and resources in defending the parallel lawsuit

and asserting her constitutional right to a trial by jury.

                                             DAMAGES

          98.    Plaintiff re-alleges and incorporates the allegations contained in Paragraphs 1 – 97

as if fully set forth herein.

          99.    As a direct and proximate result of the negligence and wrongful conduct of all

named Defendants as set out above, Mildred Marshall suffered injuries including, but not limited

to the physical injuries and economic injuries listed herein related to the negligent care and

treatment she received at Golden LivingCenter – Hillcreek and the wrongful conduct associated

with the Nursing Home Defendants’ attempts to enforce an invalid and forged arbitration

agreement.

          100.   Plaintiff seeks punitive and compensatory damages against all Defendants in an

amount to be determined by the jury, but in excess of the minimum dollar amount necessary to

establish the jurisdiction of this Court, plus costs and all other relief to which Plaintiff is entitled

by law.

                                     REQUEST FOR RELIEF

          WHEREFORE, Plaintiff, Marva J. Dockery, as Attorney-in-Fact of Mildred R. Marshall,

prays for judgment against GGNSC Louisville Hillcreek, LLC d/b/a Golden LivingCenter –

Hillcreek; GGNSC Administrative Services, LLC; GGNSC Clinical Services, LLC; GGNSC

Equity Holdings, LLC; Golden Gate National Senior Care, LLC; GGNSC Holdings, LLC; James

Rife, in his capacity as Administrator of Golden LivingCenter – Hillcreek; Renay Adkins, in her

capacity as Administrator of Golden LivingCenter – Hillcreek; and Jen Hancock, in her capacity



                                                   30
Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 31 of 32 PageID #: 137




as Admissions Coordinator of Golden LivingCenter – Hillcreek: in an amount to be determined

from the evidence, the costs herein expended, and all other relief to which Plaintiff is entitled.

       Plaintiff expressly reserves all objections to the jurisdiction of this Court and maintains

that this matter must be remanded to the Circuit Court of Jefferson County, Kentucky.

                          PLAINTIFF DEMANDS TRIAL BY JURY.

                                       Respectfully submitted this 2nd day of February, 2016,

                                       Marva Dockery, as Attorney-in-Fact of Mildred Marshall



                                           By: /s/ Matthew D. Swindle
                                              Brent L. Moss (KY 93418)
                                              Brian D. Reddick (KY 90762)
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                                              and

                                              Lee Coleman
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                                              1256 Campbell Lane, #201
                                              Bowling Green, KY 42102

                                              Attorneys for Plaintiff




                                                 31
Case 3:16-cv-00025-DJH Document 8 Filed 02/02/16 Page 32 of 32 PageID #: 138




                                 CERTIFICATE OF SERVICE

        I hereby certify that on February 2, 2016, I electronically filed the foregoing with the Clerk
of the Court by using the CM/ECF system, which shall provide service and notice to:

       Marcia L. Pearson
       Edward M. O’Brien
       Wilson, Elsner, Moskowitz, Edelman & Dicker, LLP
       100 Mallard Creed Road, Suite 250
       Louisville, Kentucky 40207

        I hereby certify that contemporaneously with the filing of this Amended Complaint, I
caused summons to be issued to the following parties who were named as additional Defendants
to these proceedings and sent a copy of this Amended Complaint along with such summons to
those parties listed below:

       Renay Adkins, in her capacity as
       Administrator of Golden LivingCenter – Hillcreek
       3116 Breckenridge Ln.
       Louisville, Kentucky 40220

       Jen Hancock, in her capacity as
       Admissions Coordinator of Golden LivingCenter – Hillcreek
       3116 Breckenridge Ln.
       Louisville, Kentucky 40220


                                                   /s/ Matthew D. Swindle
                                                   Reddick Moss, PLLC




                                                 32
